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  7 and Garrapata, LLC
  8
                         UNITED STATES DISTRICT COURT
  9
                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11 CLINT EASTWOOD, an individual;          )       Case No.:
                                            )
 12   GARRAPATA, LLC, a California limited )
      liability company,                    )       COMPLAINT FOR DAMAGES
 13                                         )
                   Plaintiffs,              )
 14                                         )       1. VIOLATION OF CALIFORNIA
              vs.                           )           CIVIL CODE SECTION 3344;
 15                                         )
                                            )       2. VIOLATION OF COMMON LAW
 16   SERA LABS, INC., a Delaware           )           RIGHT OF PUBLICITY;
      corporation; GREENDIOS dba            )
                                            )       3. FALSE ENDORSEMENT
 17   EUPHORIC, a California corporation;   )          UNDER THE LANHAM ACT
      FOR OUR VETS, LLC dba PATRIOT         )          (15 U.S.C. § 1125(A));
 18                                         )
      SUPREME, an Arizona limited liability )       4. TRADEMARK INFRINGEMENT
 19   company; DOES 1-30, inclusive,        )          (15 U.S.C. § 1114(1)(A));
                                            )
 20                Defendants.              )       5. COMMON LAW TRADEMARK
                                            )          INFRINGEMENT;
 21                                         )
                                            )       6. DEFAMATION;
 22                                         )       7. FALSE LIGHT INVASION OF
                                            )          PRIVACY
 23                                         )
                                            )
 24                                         )       DEMAND FOR JURY TRIAL
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  1        Plaintiffs Clint Eastwood and Garrapata, LLC, by and through their
  2 undersigned attorneys, allege upon knowledge as to themselves and their own acts

  3 and allege upon information and belief as to all other matters, bring this Complaint.

  4                                   INTRODUCTION
  5        1.     For more than 60 years, Clint Eastwood has been one of the most
  6 famous actors, producers, and directors in the world. Mr. Eastwood is fiercely

  7 protective of his name and image, and has rarely licensed either for the promotion of

  8 products outside of the movies he acted in or directed. Like many of his most famous

  9 characters, Mr. Eastwood is not afraid to confront wrongdoing and hold accountable

 10 those that try to illegally profit off his name or likeness. Indeed, Mr. Eastwood

 11 previously litigated and won a jury trial against the National Enquirer, which was

 12 affirmed on appeal, after the tabloid falsely claimed to have exclusively interviewed

 13 Mr. Eastwood and misappropriated his name, likeness, and personality to promote

 14 and sell its product.

 15        2.     This action arises from an online scam that uses a false, defamatory, and
 16 wholly fabricated “news article” about Mr. Eastwood to promote and sell cannabidiol

 17 (“CBD”) products. Under the headline “Big Pharma In Outrage Over Clint

 18 Eastwood’s CBD: [Name of CBD Product] - He Fires Back With This!”, the

 19 fraudulent “article” prominently features photographs of Mr. Eastwood and

 20 references a fabricated interview with Mr. Eastwood in which he touts his purported

 21 line of CBD products. In truth, Mr. Eastwood has no connection of any kind

 22 whatsoever to any CBD products and never gave such an interview. Examples of the

 23 fraudulent “article” are below and attached hereto as Exhibits 1 and 2.

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            3.     The fraudulent “article” also contains fabricated quotes from Mr.
 13
      Eastwood and false allegations that “he would be stepping away from the spotlight to
 14
      put more time into his wellness business” and “relations with some studios grew so
 15
      tense that they ended up giving him an ultimatum - acting or his wellness line”—all
 16
      of which are demonstrably untrue.
 17
            4.     The fraudulent “article” contains links to purchase what it claims are Mr.
 18
      Eastwood’s line of CBD products, thereby allowing the defendants to illegally profit
 19
      from their misuse of Mr. Eastwood’s name, likeness, and false association with their
 20
      products.
 21
            5.     The unlawful actions by the defendants amount to a willful and
 22
      conscious disregard for Mr. Eastwood’s rights, are knowingly false, and are
 23
      intentionally designed to capitalize on the goodwill, recognition, and fame associated
 24
      with Mr. Eastwood.
 25
            6.     By this action, Mr. Eastwood seeks to hold accountable the persons and
 26
      entities that wrongfully crafted this scheme, spread false and malicious statements of
 27
      facts about him, and illegally profited off of his name and likeness.
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  1                                        PARTIES
  2        7.     Plaintiff Clint Eastwood is an individual and resident of Los Angeles
  3 County, California.

  4        8.     Plaintiff Garrapata, LLC (“Garrapata”) is a California limited liability
  5 company with its principal place of business in Los Angeles County, California. By

  6 assignment from Mr. Eastwood, Garrapata holds all trademarks related to Mr.

  7 Eastwood and Mr. Eastwood’s name and likeness rights apart from those he grants in

  8 connection with the promotion and exploitation of the films he makes. Garrapata and

  9 Mr. Eastwood are referred to collectively herein as “Plaintiffs.”

 10        9.     Defendant Sera Labs, Inc. is a Delaware corporation with its principal
 11 place of business in Los Angeles County, California. It is the manufacturer,

 12 distributor, and seller of CBD products called Sera Relief.

 13        10.    Defendant Greendios is a California corporation that does business as
 14 Euphoric with its principal place of business in Los Angeles County, California. It is

 15 the manufacturer, distributor, and seller of CBD products called Euphoric CBD.

 16        11.    Defendant For Our Vets, LLC is an Arizona limited liability company
 17 that does business as Patriot Supreme with its principal place of business in Maricopa

 18 County, Arizona. It is the manufacturer, distributor, and seller of CBD products

 19 called Patriot Supreme.

 20        12.    Plaintiffs are unaware of the true names and capacities of defendants,
 21 whether individual, corporate, associate, or otherwise, named herein as Does 1

 22 through 30, inclusive, and therefore sue said defendants by such fictitious names (the

 23 “Doe Defendants”). Plaintiffs will seek leave to amend this Complaint to state when

 24 their true names and capacities are ascertained. (All of the Defendants, including the

 25 Doe Defendants, collectively are referred to herein as “Defendants”).

 26        13.    At all times mentioned in this Complaint, all of the Defendants acted in
 27 concert to knowingly cause, facilitate, control, induce, or otherwise participate in the

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  1 wrongful conduct alleged herein.

  2                             JURISDICTION AND VENUE
  3        14.    The Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and
  4 1338(a). This is a civil action arising under federal law, the Lanham Act of 1946 as

  5 amended (codified at 15 U.S.C. §§ 1051, et seq.). The pendent state law claims are so

  6 related to the federal claims that they form part of the same case or controversy

  7 pursuant to Article III of the United States Constitution. The Court therefore has

  8 supplemental jurisdiction over those claims pursuant to 28 U.S.C. § 1367(a).

  9        15.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)
 10 for several independent reasons, including: several of the Defendants “reside” in this

 11 judicial district for venue purposes under 28 U.S.C. § 1391(c)(2); a substantial part of

 12 the events or omissions giving rise to the claims occurred in this district.

 13                             GENENRAL ALLEGATIONS
 14                                      Clint Eastwood
 15        16.    Clint Eastwood is recognized around the world as an icon of the
 16 entertainment industry. After rising to fame in the 1950s as the star of the TV series

 17 Rawhide, Mr. Eastwood became one of the world’s biggest movie stars with his roles

 18 as the “Man With No Name” in a series of Westerns in the late 1960s and the Dirty

 19 Harry films of the 1970s and 80s. In 1971, Mr. Eastwood directed his first of more

 20 than 30 motion pictures, including the Academy Award winning Best Pictures

 21 Unforgiven (1992) and Million Dollar Baby (2004). In addition to his successful

 22 career in the entertainment industry, Mr. Eastwood served as the mayor of Carmel-

 23 by-the-Sea in the late-1980s. In 2006, Mr. Eastwood was inducted into the California

 24 Hall of Fame located at The California Museum for History, Women, and the Arts.

 25 According to fellow Academy Award winner Sean Penn, Mr. Eastwood “has become

 26 cinema’s Mount Rushmore . . . [and] the embodiment of American film.”

 27        17.    Mr. Eastwood has a long-standing history of rejecting third party
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  1 licenses. With rare exception, Mr. Eastwood reserves the exploitation of his

  2 personality rights and the goodwill associated therewith for his motion pictures and

  3 other entertainment related projects, and for business ventures in which he is

  4 personally involved.

  5         18.   Mr. Eastwood does not have, and never has had, any association with the
  6 manufacture, promotion, and/or sale of any CBD products.

  7                                 The Fraudulent Article
  8         19.   Among the top results of an online search for “Clint Eastwood CBD” is
  9 a website for go.ushealthynews.com, with the headline “Big Pharma in Outrage over

 10 Clint Eastwood’s CBD.” Below and attached hereto as Exhibit 3 is a true and

 11 correct image of such a Google search.

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            20.   In addition, Defendants send emails with the subject line, “Clint
 21
      Eastwood Exposes Shocking Secret Today.” In the body of the email is an apparent
 22
      article from NBC’s Today show with a picture of Mr. Eastwood under the headline
 23
      “Breaking News: Clint Eastwood Exposes Shocking Secret Today.” Below and
 24
      attached hereto as Exhibit 4 is a true and correct copy of one of the spam emails.
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                                            COMPLAINT
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  11        21.   When one clicks on the link for go.ushealthynews.com in the online
  12 search results or the purported Today show report in the spam email, it takes the

  13 consumer to a website featuring a fraudulent “news article” purportedly written by a

  14 journalist named Alice Palmer that is automatically programmed to appear as if the

  15 article was published on the date that a user views the website. The content of the

  16 article generally remains the same, even when the header of the website varies. For

  17 example, the website URL is sometimes allocated to www.go.ushealthynews.com,

  18 but the header of the website sometimes makes it appear as if it was published by

  19 “Entertainment Today.” Other times, the website URL is allocated to usmagazine-

  20 trending-news.com to make it appear that the article is associated with US Weekly

  21 magazine. Attached as Exhibits 1, 2, 5, 6, 7, 8, 9 are examples of the fraudulent

  22 “article”.

  23        22.   The CBD products advertised and sold on the fraudulent “article”
  24 include Sera Relief (Exhibit 1), Euphoric CBD (Exhibit 2, 5, 6), and Patriot

  25 Supreme (Exhibit 8).

  26        23.   Other than the names of the products being advertised and sold, the
  27 verbiage of the fraudulent “article” does not change substantially, stating among

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   1 other things:

   2
                     In an emotional 1-on-1 interview, one of America's most
   3                 respected icons revealed that he wouldn't be where he is without
   4                 CBD. We all know and love Clint Eastwood as the charismatic
                     actor and director who has never been shy about advocating for
   5                 marijuana use. He has always been focused on making movies,
   6                 going on tour, and promoting America. However, he shocked
                     everyone when he announced his new CBD line, [CBD product],
   7                 would be the next step in his career.
   8
                     In recent developments, Eastwood revealed that he would be
   9                 stepping away from the spotlight to put more time into his
  10                 wellness business, now that it has grown so fast:

  11                 “This was a really, really difficult decision for me. When I started
  12                 this whole thing back in 2015, it really was just a part time
                     passion project and a way for me to give back. Now here we are
  13                 almost 5 years later and [CBD product] has steadily grown into
  14                 a full-fledged business that’s helped thousands of people become
                     pain free and much happier. My line gives me a chance to do
  15                 something bigger than movies and I knew I would regret it for
  16                 the rest of my life if I let that opportunity pass me by.”

  17                 Eastwood went on to say that he never really expected things to
  18                 get this big and that several studios and sponsors were furious
                     that he was splitting up his time. In fact, relations with some
  19                 studios grew so tense that they ended up giving him an ultimatum
  20                 - acting or his wellness line. . . .
  21                 The product Eastwood is referring to is his breakthrough CBD
  22                 wellness line [CBD product]. The star has spent the past four
                     years developing a line of highly effective and highly potent
  23                 wellness products that he claims are the solution for those who
  24                 don’t want to resort to using opiates.
  25                 His product [CBD product] sold out within ten minutes when
  26                 first launched and it seems the world can’t get enough of the
                     benefits and results.
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   1
                    Eastwood even admitted that big pharma companies are furious
                    with him after noticing a large decline in sales since [CBD
   2                product] was launched on the market.
   3
                    “Users of [CBD product] are experiencing results that before
   4                now were only possible through prescription medication. It’s
   5                obviously a much cheaper, and safer alternative and because of
                    that pharmaceutical companies are finding it harder to keep
   6                patients using their prescriptions.”
   7
                    Having a crowd of angry pharmaceutical companies is a unique
   8                and effective endorsement for [CBD product], but Eastwood has
   9                still been proactive in getting [CBD product] into the hands of
                    those who need it. . . .
  10

  11                While making an appearance on ‘TV Show’ he gifted the cast
                    and crew with [CBD product] products and made sure every
  12                guest was given a sample of the life changing supplement. Since
  13                then, he has cultivated a huge celebrity clientele who are
                    regularly reordering the products. See for yourself!
  14

  15
             24.    The fraudulent “article” further states: “Eastwood’s new line has been a
  16
       huge hit amongst fellow celebs who got to try the initial launch of [CBD product]”
  17
       followed by a series of false testimonials from Terry Bradshaw, Sam Elliott, Michael
  18
       J. Fox, and Garth Brooks about Mr. Eastwood’s purported CBD product. The
  19
       fraudulent “article” concludes with a false claim that “Eastwood is offering our lucky
  20
       readers the chance to try [CBD product]!” and urging people to purchase the product.
  21
             25.    Links on the webpage allow the viewer to purchase the CBD products
  22
       being touted by Mr. Eastwood.
  23
                                  FIRST CLAIM FOR RELIEF
  24
           (Violation of Cal. Civ. Code § 3344 – Garrapata Against All Defendants)
  25
             26.    Plaintiffs incorporate all prior allegations of this Complaint by this
  26
       reference.
  27
             27.    Garrapata is the owner of the rights of publicity in Mr. Eastwood’s
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   1 name, image, likeness, and persona for all purposes, other than those related to the

   2 promotion and exploitation of the motion pictures Mr. Eastwood makes.

   3         28.   Defendants have willfully and without authorization used Mr.
   4 Eastwood’s name, image, likeness, and persona for commercial purposes, to advertise

   5 CBD products including Sera Relief, Euphoric CBD, and Patriot Supreme, which are

   6 manufactured, distributed and/or sold by Defendants and each of them.

   7         29.   Defendants’ unauthorized use of Mr. Eastwood’s name, image, likeness,
   8 and persona constitute a commercial misappropriation in violation of Section 3344 of

   9 the California Civil Code.

  10         30.   As a direct and proximate result of Defendants’ wrongful conduct,
  11 Garrapata has suffered, and will continue to suffer, damages in an amount to be

  12 proven at trial.

  13         31.   Defendants have further been unjustly enriched by their
  14 misappropriation of Mr. Eastwood’s statutory right of publicity. Accordingly,

  15 Garrapata is entitled to restitution of all income, profits, and other benefits resulting

  16 from Defendants’ conduct, in an amount to be determined according to proof at trial.

  17         32.   Defendants’ actions as alleged herein were malicious, oppressive, and
  18 fraudulent, and done with the intent to injure Plaintiffs and with a willful and

  19 conscious disregard for Garrapata’s rights. As a result, Garrapata is entitled to

  20 recover from Defendants punitive and exemplary damages in an amount sufficient to

  21 punish and deter them and others from engaging in such acts in the future.

  22                            SECOND CLAIM FOR RELIEF
  23       (Violation of Common Law Right of Publicity – Garrapata Against All
  24                                        Defendants)
  25         33.   Plaintiffs incorporate all prior allegations of this Complaint by this
  26 reference.

  27         34.   Garrapata is the owner of the common law rights of publicity in Mr.
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   1 Eastwood’s name, image, likeness, and persona necessary for endorsement deals.

   2        35.    Defendants have willfully and without authorization used Mr.
   3 Eastwood’s name, image, likeness, and persona for commercial purposes, to advertise

   4 and promote the sale of CBD products including Sera Relief, Euphoric CBD, and

   5 Patriot Supreme, which are manufactured, distributed and/or sold by Defendants and

   6 each of them.

   7        36.    Defendants’ unauthorized use of Mr. Eastwood’s name, image, likeness,
   8 and persona constitutes a violation of California’s common law right of publicity.

   9        37.    As a direct and proximate result of Defendants’ wrongful conduct,
  10 Garrapata has suffered, and will continue to suffer, damages in an amount to be

  11 proven at trial.

  12        38.    Defendants have further been unjustly enriched by their infringement of
  13 Plaintiffs’ common law right of publicity. Accordingly, Garrapata is entitled to

  14 restitution of all income, profits, and other benefits resulting from Defendants’

  15 conduct, in an amount to be determined according to proof at trial.

  16        39.    Defendants’ actions as alleged above were malicious, oppressive, and
  17 fraudulent, and done with the intent to injure Plaintiffs and with a willful and

  18 conscious disregard for Garrapata’s rights. As a result, Garrapata is entitled to

  19 recover from Defendants punitive and exemplary damages in an amount sufficient to

  20 punish and deter Defendants and others from engaging in such acts in the future.

  21                             THIRD CLAIM FOR RELIEF
  22   (False Endorsement (15 U.S.C. § 1125(a)) – Garrapata Against All Defendants)
  23        40.    Plaintiffs incorporate all prior allegations of this Complaint by this
  24 reference.

  25        41.    Garrapata is the owner of the statutory and common law rights
  26 associated with Mr. Eastwood’s name, image, likeness, and persona necessary for

  27 endorsement deals, including Mr. Eastwood’s right to decide whether to associate

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   1 Mr. Eastwood’s name, image, likeness, or persona with any third party for purposes

   2 relating to sponsorship and/or endorsement.

   3        42.   Defendants used distinctive attributes of Mr. Eastwood’s persona,
   4 including his name, image, and likeness without permission by posting online a false

   5 “news article” that included images of Mr. Eastwood and false quotes from Mr.

   6 Eastwood and other celebrities regarding a purported line of CBD products created

   7 by Mr. Eastwood.

   8        43.   Defendants’ unauthorized uses constitute false or misleading
   9 representations of fact to falsely imply the endorsement of Defendants’ businesses

  10 and products by Mr. Eastwood.

  11        44.   Defendants’ unauthorized uses of Mr. Eastwood’s persona are likely to
  12 confuse and deceive consumers as to Mr. Eastwood’s sponsorship and/or

  13 endorsement of Defendants’ CBD products. Specifically, Defendants’ use of Mr.

  14 Eastwood’s name, image, and likeness is likely to cause consumers to mistakenly

  15 believe that Mr. Eastwood is associated with Defendants’ CBD products, or that he

  16 sponsors or endorses Defendants’ products.

  17        45.   As a direct and proximate result of the acts of false endorsement set
  18 forth above, Garrapata has suffered actual damages in an amount to be proven at trial.

  19        46.   Garrapata is entitled to the full range of relief available under the
  20 Lanham Act, 15 U.S.C. § 1117, including, without limitation, an award of actual

  21 damages and the disgorgement of Defendants’ profits arising from their false or

  22 misleading acts.

  23        47.   Defendants’ conduct further renders this an “exceptional” case within
  24 the meaning of the Lanham Act, thus entitling Garrapata to an award of attorneys’

  25 fees and costs.

  26        48.   Defendants committed the unauthorized acts described above knowing
  27 that they are likely to cause consumers to falsely believe that Mr. Eastwood endorses

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   1 Defendants’ brands and products. Defendants have thus willfully, knowingly, and

   2 maliciously deceived and confused the relevant consuming public, such that

   3 Garrapata is entitled to an award of treble damages.

   4                           FOURTH CLAIM FOR RELIEF
   5      (Trademark Infringement (15 U.S.C. § 1114(1)) – Garrapata Against All
   6                                       Defendants)
   7        49.    Plaintiffs incorporate all prior allegations of this Complaint by this
   8 reference.

   9        50.    Garrapata has selectively used the trademark CLINT EASTWOOD in
  10 commerce in connection with products and services.

  11        51.    Garrapata owns a federally registered trademark U.S. Registration No.
  12 3265483 in Mr. Eastwood’s name for “Entertainment services, namely, personal

  13 appearances and live performance and live recorded performances by a movie star

  14 and actor” (the “Registered Mark”). A true and correct copy of Garrapata’s

  15 Trademark Certificate from the United States Patent and Trademark Office is

  16 attached hereto as Exhibit 10.

  17        52.    The Registered Mark is a valid trademark owned by Garrapata.
  18 Additionally, by virtue of Mr. Eastwood’s longstanding and continuous use of the

  19 Registered Mark in commerce, Garrapata has acquired a valid common law

  20 trademark in Mr. Eastwood’s name. The public has come to recognize the Registered

  21 Mark as exclusively identifying Mr. Eastwood, and the mark is famous worldwide.

  22        53.    Defendants infringed Garrapata’s registered and common law
  23 trademarks by using the mark on the internet, including the fraudulent “article,” to

  24 promote Defendants’ brands and to sell their CBD products.

  25        54.    Defendants’ unauthorized use of Garrapata’s registered and common
  26 law trademarks are likely to confuse and deceive consumers as to the origin,

  27 sponsorship, and/or endorsement of Defendants’ CBD brands and products.

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   1 Specifically, Defendants’ use of Mr. Eastwood’s name and mark is likely to cause

   2 consumers to mistakenly believe that Mr. Eastwood is associated with Defendants, or

   3 that he sponsors or endorses Defendants’ products.

   4          55.   As a direct and proximate result of the acts of trademark infringement
   5 set forth above, Garrapata has suffered actual damages in an amount to be proven at

   6 trial.

   7          56.   Garrapata is entitled to the full range of relief available under the
   8 Lanham Act, 15 U.S.C. § 1117, including, without limitation, an award of actual

   9 damages and the disgorgement of Defendants’ profits arising from the acts of

  10 trademark infringement.

  11          57.   Defendants’ conduct further renders this an “exceptional” case within
  12 the meaning of the Lanham Act, thus entitling Garrapata to an award of attorneys’

  13 fees and costs.

  14          58.   Defendants committed the infringement described above knowing that
  15 their unauthorized use of the CLINT EASTWOOD trademark is likely to cause

  16 consumer confusion. Defendants have thus willfully, knowingly, and maliciously

  17 deceived and confused the relevant consuming public, such that Garrapata is entitled

  18 to an award of treble damages.

  19                              FIFTH CLAIM FOR RELIEF
  20   (Common Law Trademark Infringement – Garrapata Against All Defendants)
  21          59.   Plaintiffs incorporate all prior allegations of this Complaint by this
  22 reference.

  23          60.   Garrapata owns a valid common law trademarks in CLINT
  24 EASTWOOD for use in connection with the promotion of products and services in

  25 the entertainment industry.

  26          61.   The Registered Trademark is likewise a valid trademark owned by
  27 Garrapata.

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   1          62.      The public has come to recognize the CLINT EASTWOOD mark as
   2 exclusively identifying Mr. Eastwood, and the mark is famous worldwide.

   3          63.      Defendants have infringed Garrapata’s trademark by using the mark on
   4 the internet, including the fraudulent “article,” to promote Defendants’ brands and

   5 sale of CBD products.

   6          64.      Defendants’ unauthorized use of Garrapata’s trademark is likely to
   7 confuse and deceive consumers as to the origin, sponsorship, and/or endorsement of

   8 Defendants’ brands and products. Specifically, Defendants’ use of Garrapata’s mark

   9 is likely to cause consumers to mistakenly believe that Mr. Eastwood is associated

  10 with Defendants and/or that he sponsors or endorses Defendants’ products.

  11          65.      As a direct and proximate result of the acts of trademark infringement
  12 set forth above, Garrapata has suffered actual damages in an amount to be proven at

  13 trial.

  14          66.      Defendants acted with fraud, oppression, or malice in infringing
  15 Garrapata’s mark as alleged above. As such, in addition to the other relief sought

  16 herein, Garrapata is entitled to an award of punitive damages.

  17                                 SIXTH CLAIM FOR RELIEF
  18                    (Defamation – Mr. Eastwood Against All Defendants)
  19          67.      Plaintiffs incorporate all prior allegations of this Complaint by this
  20 reference.

  21          68.      The fraudulent “article” contains false statements of fact, including
  22 without limitation:

  23                a. “In an emotional 1-on-1 interview, one of America's most respected
  24                   icons revealed that he wouldn’t be where he is without CBD”;
  25                b. “We all know and love Clint Eastwood as the charismatic actor and
  26                   director who has never been shy about advocating for marijuana use”;
  27                c. “[Mr. Eastwood] shocked everyone when he announced his new CBD
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   1              line, [CBD product], would be the next step in his career”;
   2           d. “Eastwood revealed that he would be stepping away from the spotlight
   3              to put more time into his wellness business”;
   4           e. “several studios and sponsors were furious that he was splitting up his
   5              time”;
   6           f. “relations with some studios grew so tense that they ended up giving
   7              him an ultimatum - acting or his wellness line”;
   8           g. “The product Eastwood is referring to is his breakthrough CBD wellness
   9              line [CBD product]”;
  10           h. “The star has spent the past four years developing a line of highly
  11              effective and highly potent wellness products that he claims are the
  12              solution for those who don’t want to resort to using opiates”;
  13           i. “Eastwood even admitted that big pharma companies are furious with
  14              him after noticing a large decline in sales since [CBD product] was
  15              launched on the market”;
  16           j. “Eastwood has still been proactive in getting [CBD product] into the
  17              hands of those who need it”;
  18           k. “While making an appearance on ‘TV Show’ he gifted the cast and crew
  19              with [CBD product] and made sure every guest was given a sample of
  20              the life changing supplement”;
  21           l. “he has cultivated a huge celebrity clientele who are regularly reordering
  22              the products”;
  23           m. “Eastwood’s new line has been a huge hit amongst fellow celebs who
  24              got to try the initial launch of [CBD product]”;
  25           n. “Eastwood didn’t want our readers to miss out on experiencing the
  26              benefits of [CBD product] for themselves”;
  27           o. “Eastwood is offering our lucky readers the chance to try [CBD
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   1                 product]!”;
   2              p. “Eastwood can only offer a limited amount of special bottles so you’ll
   3                 need to act quickly to take advantage of this amazing offer”.
   4        69.      The fraudulent “article” also contains false statements of fact that are
   5 attributed to Mr. Eastwood himself, including: “‘When I started this whole thing back

   6 in 2015, it really was just a part time passion project and a way for me to give back.

   7 Now here we are almost 5 years later and [CBD product] has steadily grown into a

   8 full-fledged business that’s helped thousands of people become pain free and much

   9 happier. My line gives me a chance to do something bigger than movies and I knew I

  10 would regret it for the rest of my life if I let that opportunity pass me by.’”

  11        70.      The fraudulent “article” also contains false statements of fact that are
  12 attributed to other celebrities including, Terry Bradshaw (“‘Eastwood gave me a

  13 sample of [CBD product]”) and Michael J. Fox (“‘The advances Eastwood has made

  14 in the CBD industry are remarkable.’”).

  15        71.      The statements in the foregoing paragraphs 68 through 70, which are
  16 referred to collectively herein as the “False Statements,” are unprivileged, false, and

  17 defamatory.

  18        72.      The False Statements are of and concerning Mr. Eastwood in that they
  19 falsely allege that Mr. Eastwood (1) uses CBD products; (2) attributes his health

  20 and/or successful career to his purported use of CBD products; (3) developed and

  21 announced a line of CBD products; (4) CBD products would be the next step in Mr.

  22 Eastwood’s career; (5) will step away from his entertainment career to put more time

  23 into his purported wellness business; (6) started a purported CBD business in 2015 as

  24 a passion project; (7) his purported CBD products are a full-fledged business; (8) film

  25 studios and sponsors are angry that Mr. Eastwood is splitting his time on his

  26 purported CBD business; (8) some film studios gave Mr. Eastwood an ultimatum; (9)

  27 pharmaceutical companies are angry with Mr. Eastwood because of his purported

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   1 CBD products; (10) has been proactive in delivering his purported CBD products to

   2 people including other celebrities; (11) is selling his purported CBD products online

   3 through the fraudulent “article’s” websites.

   4        73.   The False Statements were made with actual malice in that they were
   5 made with knowledge of their falsity and/or in reckless disregard for the truth.

   6        74.   The False Statements exposed Mr. Eastwood to hatred, contempt,
   7 ridicule, and obloquy and/or harmed Mr. Eastwood in his trade or profession.

   8        75.   As a direct and proximate result of Defendants’ conduct, Mr. Eastwood
   9 has suffered general and special damages in an amount to be determined at trial.

  10        76.   The creators and publishers of the False Statements acted with malice or
  11 reckless disregard for Mr. Eastwood’s rights, thereby justifying an award of punitive

  12 damages.

  13        77.   Unless enjoined and restrained by the Court, Defendants will republish,
  14 repeat and continue to disseminate the False Statements to the continuing injury of

  15 Mr. Eastwood. Such continued republication, repetition, and dissemination of the

  16 False Statements will cause irreparable harm to Mr. Eastwood. Mr. Eastwood lacks

  17 an adequate remedy at law insofar as damages will be very difficult to calculate for

  18 such on-going injuries. By reason of the foregoing, Mr. Eastwood is entitled to

  19 preliminary and permanent injunctions enjoining and restraining Defendants, and all

  20 persons acting in concert with them, from republishing, repeating, distributing or

  21 otherwise disseminating the False Statements set forth herein.

  22                           SIXTH CLAIM FOR RELIEF
  23    (False Light Invasion of Privacy – Mr. Eastwood Against All Defendants)
  24        78.   Mr. Eastwood incorporates all prior allegations of this Complaint by
  25 this reference.

  26        79.   Defendants published the False Statements set forth in Paragraphs 68
  27 through 70 herein.

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   1        80.    The False Statements are of and concerning Mr. Eastwood in that they
   2 allege that Mr. Eastwood (1) uses CBD products; (2) attributes his health and/or

   3 successful career to his purported use of CBD products; (3) developed and announced

   4 a line of CBD products; (4) CBD products would be the next step in Mr. Eastwood’s

   5 career; (5) will step away from his entertainment career to put more time into his

   6 purported wellness business; (6) started a purported CBD business in 2015 as a

   7 passion project; (7) his purported CBD products are a full-fledged business; (8) film

   8 studios and sponsors are angry that Mr. Eastwood is splitting his time on his

   9 purported CBD business; (8) some film studios gave Mr. Eastwood an ultimatum; (9)

  10 pharmaceutical companies are angry with Mr. Eastwood because of his purported

  11 CBD products; (10) has been proactive in delivering his purported CBD products to

  12 people including other celebrities; (11) is selling his purported CBD products online

  13 through the fraudulent “article’s” websites.

  14        81.    The False Statements are unprivileged and false.
  15        82.    To the extent that all or any of the False Statements are found not to be
  16 defamatory of Mr. Eastwood, the False Statements place Mr. Eastwood in a false

  17 light which would be highly offensive to a reasonable person in Mr. Eastwood’s

  18 position.

  19        83.    The False Statements were made with actual malice in that they were
  20 made with knowledge of their falsity and/or in reckless disregard for the truth.

  21        84.    As a direct and proximate result of Defendants’ conduct, Mr. Eastwood
  22 has suffered general and special damages in an amount to be determined at trial.

  23        85.    The creators and publishers of the False Statements acted with malice or
  24 reckless disregard for Mr. Eastwood’ rights, thereby justifying an award of punitive

  25 damages.

  26        86.    Unless enjoined and restrained by the Court, Defendants will republish,
  27 repeat and continue to disseminate the False Statements to the continuing injury of

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   1 Mr. Eastwood. Such continued republication, repetition, and dissemination of the

   2 False Statements will cause irreparable harm to Mr. Eastwood. Mr. Eastwood lacks

   3 an adequate remedy at law insofar as damages will be very difficult to calculate for

   4 such on-going injuries. By reason of the foregoing, Mr. Eastwood is entitled to

   5 preliminary and permanent injunctions enjoining and restraining Defendants, and all

   6 persons acting in concert with them, from republishing, repeating, distributing or

   7 otherwise disseminating the False Statements set forth herein.

   8

   9                                PRAYER FOR RELIEF
  10        WHEREFORE, Plaintiffs pray for judgment as follows:
  11        1.     On all Claims for Relief, for an award of actual and compensatory
  12 damages in the millions of dollars according to proof;

  13        2.     On the First through Fifth Claims for Relief, for the disgorgement of
  14 Defendants’ profits attributable to the infringement of Garrapata’s intellectual

  15 property rights and rights of publicity;

  16        3.     On the First, Second, Sixth, and Seventh Claims for Relief, for an award
  17 of punitive damages in an amount sufficient to deter unlawful conduct by Defendants

  18 in the future;

  19        4.     On the Third and Fourth Claims for Relief, for treble damages;
  20        5.     For preliminary and permanent injunctions restraining and enjoining
  21 Defendants, and all persons acting in concert with them, from using Mr. Eastwood’s

  22 name, images, likeness, persona, and trademarks;

  23        6.     For preliminary and permanent injunctions restraining and enjoining
  24 Defendants, and all persons acting in concert with them, from republishing,

  25 repeating, distributing, or otherwise disseminating the False Statements set forth

  26 herein;

  27        7.     For pre-judgment and post-judgment interest according to proof and to
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   1 the maximum extent allowed by law;

   2         8.    For attorneys’ fees and costs; and
   3         9.    For such other and further relief as the Court may deem just and proper.
   4

   5
       Dated: July 22, 2020                           NOLAN HEIMANN LLP
   6

   7                                                  By:__________________________
                                                      Jordan Susman
   8                                                  Attorneys for Plaintiffs
                                                      Clint Eastwood
   9                                                  and Garrapata, LLC
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   1                           DEMAND FOR JURY TRIAL
   2         Pursuant to Local Rule 38-1, Plaintiffs hereby demand a trial by jury on all
   3 issues so triable.

   4
       Dated: July 22, 2020                            NOLAN HEIMANN LLP
   5

   6                                                   By:__________________________
                                                       Jordan Susman
   7                                                   Attorneys for Plaintiffs
                                                       Clint Eastwood
   8                                                   and Garrapata, LLC
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